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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

TQ DELTA, LLC,                        §
   Plaintiff,                         §
                                              JURY TRIAL DEMANDED
                                      §
v.                                    §
                                      §
COMMSCOPE HOLDING COMPANY,            §
INC., COMMSCOPE INC., ARRIS           §
INTERNATIONAL LIMITED, ARRIS          §
GLOBAL LTD., ARRIS US HOLDINGS,       §      Civil Action 2:21-cv-310-JRG
INC., ARRIS SOLUTIONS, INC., ARRIS    §               (Lead Case)
TECHNOLOGY, INC., and ARRIS           §
ENTERPRISES, LLC,                     §
                                      §
NOKIA CORP., NOKIA SOLUTIONS          §
AND NETWORKS OY, and NOKIA OF         §     Civil Action No. 2:21-cv-309-JRG
AMERICA CORP.                         §              (Member Case)
                                      §
       Defendants.                    §

                PLAINTIFF TQ DELTA, LLC’S RESPONSE TO
     DEFENDANT NOKIA OF AMERICA CORPORATION’S MOTION TO DISMISS
     UNDER RULE 12(b)(6) FOR FAILURE TO PLEAD COMPLIANCE WITH THE
       ACTUAL NOTICE AND MARKING REQUIREMENTS OF 35 U.S.C. 287(a)
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I.     INTRODUCTION

       The Court should deny Nokia’s Motion. Nokia has had notice of TQ Delta’s patents and

its infringement since 2013.     TQ Delta repeatedly provided that notice during the parties’

negotiations, which continued from 2013 to this year. Nokia omits those facts and pretends that

they do not exist. And, on that false predicate, Nokia seeks a drastic remedy—an outright dismissal

of some patents and, for the rest, a free pass for its willful violation of TQ Delta’s patent rights

since 2013. TQ Delta respectfully requests that the Court see that tactic for what it is and deny

Nokia’s Motion. It is at least plausible that TQ Delta is entitled to pre-suit damages on this record.

In the alternative, TQ Delta requests leave to amend its complaint.

II.    FACTUAL BACKGROUND

       Nokia has known about TQ Delta and its patents since 2013 when TQ Delta approached

Nokia’s predecessor (Alcatel-Lucent) about a license. Complaint, at ¶ 31. In TQ Delta’s

communications, “TQ Delta identified a number of products it believed are covered by TQ Delta’s

patents.” Id.; see also id. at ¶ 32 (“TQ Delta has been in near-continuous contact with Nokia (or

its predecessors) since 2013 about its infringement.”).

       Here are some examples from those communications. On October 28, 2013, TQ Delta sent

a letter to




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  This case involves a number of digital subscriber line (“DSL”) technologies. The International
Telecommunications Union (“ITU”) has adopted various DSL-related standards and the DSL
standards are often referred to by their ITU standard number.


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929 (2007) (ellipsis in original) (citation omitted). “[I]n the Fifth Circuit, ‘[m]otions to dismiss

under Rule 12(b)(6) are viewed with disfavor and are rarely granted.’” Id. (quoting Lormand v.

US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009)) (internal quotation omitted).

IV.    ARGUMENT

       A.      TQ Delta Has Plead a Plausible Claim That it is Entitled to Pre-Suit
               Damages

       TQ Delta’s Complaint contains sufficient facts that it is plausible that TQ Delta is entitled

to pre-suit damages. The Complaint points to the long history between the parties and Nokia’s

knowledge of its infringement:

               Nokia has known about the TQ Delta Patents and its infringement
               since prior to filing of this Complaint. TQ Delta first contacted
               Nokia’s predecessor (Alcatel-Lucent) in 2013 to initiate licensing
               discussions. TQ Delta has had near-continuous communications
               with Alcatel-Lucent (and then Nokia) since that time, including
               attending multiple in-person meetings. In multiple correspondences,
               TQ Delta identified a number of products it believed are covered by
               TQ Delta’s patents. . . .

Complaint, at ¶ 31; see also id. at ¶ 260 (referring to five offers TQ Delta made to Nokia). Nokia

ignores these facts in its Motion. But, taken as true, these allegations are sufficient to defeat

Nokia’s pleadings challenge. See, e.g., Estech, 2020 U.S. Dist. LEXIS 208491, at *10 (denying

motion to dismiss pre-suit damages under Section 287(a) where the complaint merely stated that

the plaintiff had “satisfied all statutory obligations required to collect pre-filing damages for the

full period allowed by law for infringement of the ‘928 [sic] patent”); Realtime Data LLC v.

EchoStar Corp., No. 6:17-CV-00084-JDL, 2018 U.S. Dist. LEXIS 242904, at *10 (E.D. Tex. Oct.

16, 2018) (“The Federal Circuit has held that pleading infringement to be ‘willful and with full

knowledge’ is sufficient to plead constructive notice of compliance with the marking statute.”)

(quoting Sentry Prot. Prods., Inc. v. Eagle Mfg. Co., 400 F.3d 910, 918 (Fed. Cir. 2005)).




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       TQ Delta’s allegations are based on extensive materials—also in Nokia’s possession—in

which TQ Delta provided notice of the Patents and Nokia’s infringement. Nokia pretends that

those documents do not exist. It ignores




       Nokia instead asserts that “Defendants were not given actual notice of alleged infringement

of each of the Asserted Patents.” Mot. at 1. That statement is false. For example, Nokia seeks to

dismiss the ’008 Patent in its entirety because the patent recently expired and Nokia claims it was

not “given actual notice of alleged infringement” prior to this Lawsuit. Mot. at 1.




Exh. 2, at 45 (highlighting added, header row added for clarity).




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          TQ Delta’s infringement allegations in this case                           . TQ Delta alleges

that Nokia’s products that comply with VDSL2 (ITU-T G.993.2) infringe the ’008 Patent claims.

Complaint, at ¶¶ 63–72. And TQ Delta’s infringement contentions

                                                       . See, e.g., Exh. 8, at 5–6 n.2 (listing Cellpipe

7130, 5530 NA-C, 7310 LVG, 7300-series ISAM, and 8950 DSL Assurance).

          As another example, Nokia seeks to dismiss the ’354 Patent in its entirety on the same basis

as the ’008 Patent—that Nokia allegedly did not have pre-suit notice of the ’354 Patent and the

Patent has expired. But Nokia




Exh. 5, at 5.4

          Indeed, by 2018, TQ Delta had




                                       Exh. 6, at 1.

                                           . Nokia’s claims of no pre-suit notice contradict the facts.

And, on this factual record, it is at least plausible that TQ Delta is entitled to pre-suit damages.

          B.      Nokia’s Motion Fails Under Arctic Cat

          Nokia’s argument is also legally flawed. “[A]n alleged infringer who challenges the

patentee’s compliance with § 287 bears an initial burden of production to articulate the products it



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    See also Exh. 3, at 36 (                                 ).


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believes are unmarked ‘patented articles’ subject to § 287.” Team Worldwide Corp. v. Academy,

No. 2:19-cv-00092-JRG-RSP, 2021 U.S. Dist. LEXIS 92766, at *10 (E.D. Tex. May 3, 2021)

(quoting Arctic Cat Inc. v. Bombardier Rec. Prods., 876 F.3d 1350, 1365 (Fed. Cir. 2017)).

       For that reason, courts have concluded patentees “should not be forced to plead compliance

with the marking statute for products that are ‘not yet rightly a part of the case.’” Realtime Data,

2018 U.S. Dist. LEXIS 242904, at *11 (quoting Lexos Media IP, LLC v. Jos. A. Bank Clothiers,

Inc., No. 17-cv-1317-LPS-CJB, 2018 U.S. Dist. LEXIS 94176, at *2 (D. Del. June 5, 2018), report

and recommendation adopted sub nom. Lexos Media IP, LLC v. Jos. A. Bank Clothiers, Inc., No.

17-cv-1317-LPS-CJB, 2018 U.S. Dist. LEXIS 166197 (D. Del. Sept. 27, 2018)). That holding

should apply here.

       Nokia flips the Arctic Cat burden in its Motion. It argues that the burden fell on TQ Delta

to predict Nokia’s pre-suit damages allegations based on ZyXEL and Infineon and then pre-but

them: “In its Complaint, TQ Delta does not deny that ZyXEL or Infineon have sold licensed

products, nor does it allege that ZyXEL or Infineon did in fact mark licensed products in

compliance with 35 U.S.C. § 287(a).” Mot. at 3. That is backwards under Arctic Cat. And it fails

to afford TQ Delta the notice-and-opportunity process that Arctic Cat protects. 876 F.3d at 1368

(“Without some notice of what market products BRP believes required marking, Arctic Cat’s

universe of products for which it would have to establish compliance would be unbounded.”).

       TQ Delta should have the opportunity to address Section 287(a) on the merits, including

whether the marking obligations apply to each of the Patents-in-Suit, whether those provisions

have been complied with, and what notice Nokia received prior to this case. Those are issues that




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should all be decided on a full record, not at the pleadings stage. Arctic Cat, 876 F.3d at 1366

(“Compliance with § 287 is a question of fact.”).5

       C.      In the Alternative, TQ Delta Requests Leave to Amend Its Complaint

       Should the Court find TQ Delta’s pleading is insufficient, TQ Delta respectfully requests

leave to amend its Complaint. “The Court should freely grant leave to amend, and the district

court must have a ‘substantial reason’ to deny a request to amend a pleading.” Mad Dogg Ath.,

Inc. v. Peloton Interactive, Inc., No. 2:20-CV-00382-JRG, 2021 U.S. Dist. LEXIS 174960, at *19

(E.D. Tex. Sep. 15, 2021). Here, TQ Delta can expressly incorporate into its Complaint the

material Nokia already has in its possession that TQ Delta referenced in its Complaint. That

material shows that it is at least plausible that TQ Delta is entitled to pre-suit damages.

       Nokia rests its dismissal argument on the public policy favoring patentees to mark their

products to give notice to the public. Mot. at 8–9. But the Federal Rules require cases to proceed

to the merits where, like here, there is sufficient factual allegations in the Complaint. And they

reject the type of form-over-substance pleadings challenge that Nokia raises. See, e.g., Realtime

Data, 2018 U.S. Dist. LEXIS 242904, at *10–12 (rejecting argument that “Plaintiff's failure to

explicitly plead their compliance with the marking statute should bar Plaintiff from recovering pre-

suit damages” because that standard “would place form over substance and be contrary to the spirit

of the Rules of Civil Procedure”). The Motion should be denied.




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  Nokia also did not discharge its Arctic Cat burden. Nokia was required to provide notice that
TQ Delta or its licensees “sold specific unmarked products which [Nokia] believes practice the
patent[s].” Arctic Cat, 876 F.3d at 1368 (emphasis added). Nokia did not identify specific
products. It claimed, based on evidence outside the complaint, that “at least ZyXEL and Infineon
are authorized to practice the claims of TQ Delta’s patents.” Mot. at 3. That is insufficient.


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V.    CONCLUSION

      For these reasons, TQ Delta respectfully requests that the Court deny Nokia’s Motion to

Dismiss.



Dated: November 12, 2021                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically in

compliance with Local Rule CV-5(a). As such, this document is being served this November 12,

2021, on all counsel of record, each of whom is deemed to have consented to electronic service.

L.R. CV-5(a)(3)(A).

                                                 /s/ Christian Hurt
                                                 Christian Hurt




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